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                             Exhibit E

                     Voluntary Rate Disclosures
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•     The blended hourly rate for all K&E domestic timekeepers (including both professionals and
      paraprofessionals) who billed to non-bankruptcy matters (collectively, the “Non-Bankruptcy
      Matters”)1 during the 12-month period beginning on December 1, 2016 and ending on
      November 30, 2017 (the “Comparable Period”) was, in the aggregate, approximately
      $801.46 per hour (the “Non-Bankruptcy Blended Hourly Rate”).2

•     The blended hourly rate for all K&E timekeepers (including both professionals and
      paraprofessionals) who billed to the Debtors during the Fee Period was approximately $842.72
      per hour (the “Debtor Blended Hourly Rate”).3

•     A detailed comparison of these rates is as follows:

                                      Debtor Blended Hourly Rate                 Non-Bankruptcy Blended
        Position at K&E
                                        for This Fee Application                      Hourly Rate
    Partner                                    $1,150.15                               $1,071.64
    Of Counsel                                 $1,194.94                                $817.16
    Associate                                    $729.04                                $679.63
    Contract Attorney                             $0.00                                  $0.00
    Visiting Attorney                             $0.00                                 $503.93
    Law Clerk                                     $0.00                                 $316.31
    Paralegal                                    $339.81                                $309.35
    Junior Paralegal                             $239.75                                $202.97
    Support Staff                                $308.42                                $286.73
    Total                                        $842.72                                $801.46




1
      It is the nature of K&E’s practice that certain non-bankruptcy engagements require the advice and counsel of
      professionals and paraprofessionals who work primarily within K&E’s Restructuring Group. Accordingly, “Non-
      Bankruptcy Matters” consist of matters for which K&E domestic timekeepers represented a client in a matter
      other than an in-court bankruptcy proceeding. Moreover, the Non-Bankruptcy Matters include time billed by
      K&E domestic timekeepers who work primarily within K&E’s Restructuring Group.

2
      K&E calculated the blended rate for Non-Bankruptcy Matters by dividing the total dollar amount billed by K&E
      domestic timekeepers to the Non-Bankruptcy Matters during the Comparable Period by the total number of hours
      billed by K&E domestic timekeepers to the Non-Bankruptcy Matters during the Comparable Period.

3
      K&E calculated the blended rate for timekeepers who billed to the Debtors by dividing the total dollar amount
      billed by such timekeepers during the Fee Period by the total number of hours billed by such timekeepers during
      the Fee Period.
